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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


SADIE HACKLER, ON BEHALF OF                     §
HERSELF AND ALL OTHERS                          §
SIMILARLY SITUATED;                             §                  SA-18-CV-00911-XR
             Plaintiff,                         §
                                                §
v.                                              §
                                                §
TOLTECA ENTERPRISES, INC.,                      §
            Defendant.



                                            ORDER

       On this date, the Court considered the status of this case. Plaintiff Sadie Hackler

(“Plaintiff”) commenced this lawsuit on August 31, 2018, alleging that Defendant Tolteca

Enterprises, Inc. d/b/a The Phoenix Recovery Group (“Defendant”) violated the Fair Debt

Collection Practices Act (“FDCPA”). ECF No. 1. The Court previously entered a scheduling

order to govern the disposition of this case, but that order was vacated and all deadlines were

stayed pending the Court’s decision on Plaintiff’s motion for class certification. See ECF No. 12;

Text Order dated June 3, 2019.

       The Court granted Plaintiff’s motion for class certification on September 9, 2019. ECF

No. 36. On Plaintiff’s unopposed motion, the Court agreed that the deadline for the parties to

submit a new proposed scheduling order would be suspended until 14 days after the expiration of

time within which class members may opt out of the class. See ECF No. 37; Text Order dated

October 2, 2019. The Court granted Plaintiff’s motion for partial summary judgment as to

liability on December 11, 2019. ECF No. 39. On May 28, 2020, the Court issued an order

governing notice to the class members. ECF No. 47 (“the Class Notice Order”). The Court



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ordered Plaintiff to effect notice to the class with the assistance of Defendant in accordance with

the Class Notice Order. Id. As relevant here, the Class Notice Order required (1) Defendant to

review the list of class members and certify to the Court that it is complete and correct according

to Defendant’s records by no later than July 13, 2020, and (2) Plaintiff to file an advisory with

the Court on the date by which a class member’s request for exclusion from the class must be

received by no later than July 27, 2020. Id. The Class Notice Order further provided that “[t]he

parties must, without further direction of the Court, confer and submit a proposed scheduling

order no later than 14 days after that opt-out deadline.” Id.

       Defendant failed to timely certify to this Court that it had reviewed the list of class

members and that it was complete and correct according to Defendant’s records. Plaintiff late-

filed her advisory on July 28, 2020, which states the deadline for a class member’s request for

exclusion is October 30, 2020. ECF No. 51.

       The Court accordingly ORDERS Defendant to file a with the Court a certification

regarding the list of class members, as ordered in the Class Notice Order, no later than August

10, 2020. The Court further ORDERS the parties to confer and submit a new proposed

scheduling order to govern the remainder of this case by November 13, 2020.

       It is so ORDERED.

       SIGNED this 3rd day of August, 2020.




                                       XAVIER RODRIGUEZ
                                       UNITED STATES DISTRICT JUDGE




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